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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

 DONALD FALLS, et. al.

        Plaintiffs,

 vs.                                                  Case No.: 4:22-cv-00166

 RON DESANTIS, in his official
 capacity as Governor of Florida Et. al.

      Defendants.
 ___________________________________


                             JOINT STATUS REPORT
Pursuant to this Court’s Initial Scheduling Order (Doc. 29) the Parties file this Joint

Status Report. The Parties have not yet propounded discovery requests. The

Defendants filed their response to Plaintiffs’ Complaint and Motion for Preliminary

Injunction on June 1, 2022. The Parties have independently engaged in fact-finding

as exhibited by their filings regarding the motion for preliminary injunction.
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Date: June 6, 2022                 /s/ Jesse Wilkison

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Date: June 6, 2022                 /s/ John Ohlendorf

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Date: June 6, 2022                 /s/ Timothy Newhall

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